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 7 Attorneys for Plaintiff
   John Aulbach
 8

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10
                                  UNITED STATES DISTRICT COURT
11
              NORTHERN DISTRICT OF CALIFORNIA — SAN FRANCISCO DIVISION
12

13
     JOHN AULBACH,                                     Federal Case No.: 3:16-cv-05717-RS
14
                   Plaintiff,
15                                                     STIPULATED REQUEST FOR
            vs.                                        DISMISSAL OF DEFENDANT
16                                                     EXPERIAN INFORMATION
   EXPERIAN INFORMATION SOLUTIONS,                     SOLUTIONS, INC.; [PROPOSED] ORDER
17 INC.; et. al.,

18                 Defendants.
19

20 TO THE COURT, CLERK OF COURT, AND ALL PARTIES:

21          IT IS HEREBY STIPULATED by and between plaintiff John Aulbach and defendant

22 Experian Information Solutions, Inc., that Experian Information Solutions, Inc. be dismissed from

23 this action with prejudice pursuant to Federal Rules of Civil Procedure, section 41(a)(2), and that

24 each party shall bear its own attorneys’ fees and costs.

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27 //

28 //
                                                      1
     STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                      [PROPOSED] ORDER
         Case 3:16-cv-05717-RS Document 54 Filed 06/30/17 Page 2 of 2



 1 DATED: June 30, 2017                         Sagaria Law, P.C.

 2                                              By:          /s/ Elliot W. Gale
 3                                                                    Elliot W. Gale
                                                Attorneys for Plaintiff
 4                                              John Aulbach
 5
     DATED: June 30, 2017                       Jones Day
 6

 7

 8                                              By:          /s/Benjamin Lee
                                                                     Benjamin Lee
 9
                                                Attorneys for Defendant
10                                              Experian Information Solutions, Inc.

11
     I, Elliot Gale, am the ECF user whose identification and password are being used to file this
12
     Stipulation. I hereby attest that Benjamin Lee has concurred in this filing.
13
     /s/ Elliot Gale
14

15
                                               [PROPOSED] ORDER
16
            Pursuant to the stipulation of the Parties, Experian Information Solutions, Inc. is dismissed
17
     with prejudice and each party is to bear its own attorneys’ fees and costs.
18
            IT IS SO ORDERED.
19

20
     DATED: 6/30/17
21                                                 RICHARD SEEBORG
                                                   UNITED STATES DISTRICT JUDGE
22

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                                                        2
      STIPULATED REQUEST FOR DISMISSAL OF DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.;
                                       [PROPOSED] ORDER
